UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


CONTRARIAN EMERGING MARKETS,
L.P., GMO EMERGING COUNTRY DEBT
FUND, GMO EMERGING COUNTRY DEBT
INVESTMENT FUNDS PLC, and, GMO
EMERGING COUNTRY DEBT (UCITS)
FUND, Individually and on Behalf of All
Others Similarly Situated,

                         Plaintiffs,

                  -against-               Case No. 1:20-CV-05890-VEC

THE REPUBLIC OF ECUADOR,

                         Defendant.


DEFENDANTS’ MEMORANDUM IN OPPOSITION TO PLAINTIFFS’ MOTION FOR
   TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION
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        Defendant The Republic of Ecuador (the “Republic”) respectfully submits this

memorandum in opposition to Plaintiffs’ Motion for a Temporary Restraining Order and

Preliminary Injunction (the “Motion”).

                                  PRELIMINARY STATEMENT
        Plaintiffs are sophisticated distressed hedge funds that purchased bonds issued by the

Republic pursuant to Indentures, which set forth the rights and obligations of the bondholders

and the Republic. In fact, the terms of the Invitation only permit participation by U.S. persons

that are institutional accredited investors or qualified institutional buyers, which are high

sophisticated investor criteria. Plaintiffs waited until the 11th hour to enjoin a Consent

Solicitation and Exchange (the “Consent Solicitation”), announced on July 20, 2020, which is a

critically important step in the Republic’s effort to restructure over $17 billion of public debt.

The terms of the Consent Solicitation terms were clearly spelled out in a 277 page Invitation

Memorandum distributed to all eligible bondholders.1 If the Consent Solicitation is enjoined, the

Republic and its citizens will suffer significant harm given that, absent the completion of the

transactions proposed by the Republic, the Republic will default under the indentures and risk

cross-default under different series of bonds.

          The Complaint asserts a single cause of action against the Republic for securities fraud

under Section 10(b) of the Securities Exchange Act. (Compl. ¶¶ 80-88). However, nowhere in

the Complaint or moving papers do Plaintiffs allege any facts demonstrating that the Invitation

Memorandum contains any material misstatement of fact or actionable omissions, which are key

threshold elements for its securities fraud claim. Instead, Plaintiffs base their entire securities


1
 Plaintiffs omit key facts relating to the Consent Solicitation and Invitation Memorandum. The restructuring
of the Republic’s debt and the determination to proceed with the Consent Solicitation did not occur in a
vacuum. The Republic was in discussions with large groups of bondholders, a majority of which support the
Consent Solicitation. (See Exhibits 1 and 2, attached hereto (press releases by the Ad Hoc Group of Ecuador
Bondholders.)

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fraud claim on generalized statements in a Press Release, issued by the Republic on July 27,

2020 (attached to the Motion as Exhibit 1), in which the Republic responded to a press release

about the Consent Solicitation by the Steering Committee. Nothing in the Press Release

constitutes actionable securities fraud.

        Nevertheless, Plaintiffs have attempted to convert their contract claim into a U.S.

securities fraud claim based on the Press Release in a transparent attempt to circumvent the

forum selection provision in the indentures governing Plaintiffs’ bonds. Each of the indentures

at issue contains a broad dispute resolution provision, requiring that “any dispute, controversy or

claim of any nature arising out of, relating to or having any connection to this indenture . . .”

shall “not be referred to a court of any jurisdiction and shall instead be referred to and finally

resolved by arbitration under the Rules of [the London Court of Arbitration]. Thus, as a

threshold matter, this case does not belong in the Court.

       Plaintiffs argue that, despite the broad LCIA arbitration clause, they are entitled to seek

injunctive relief in this court for a violation of the U.S. securities laws. Plaintiffs are wrong. The

indentures clearly provide the courts in London, England, with “supervisory authority” over all

matters and there was no reason Plaintiffs could not seek relief in the proper court if necessary.

The notion that the Complaint states a claim under the U.S. securities laws is a fallacy. To the

contrary, as the facts alleged in the Complaint make abundantly clear, Plaintiffs main grievance

is that they believe — albeit incorrectly — that the consent solicitation is “coercive” and that

non-tendering bondholders are being treated unfairly and in breach of the “no less favorably”

provision in the indentures. Plaintiffs’ remedy is, therefore, in the LCIA arbitration to which

they agreed. Moreover, Plaintiffs have failed to demonstrate their authority to bring this

litigation given that the indentures have a standard collective actin provision (Section 4.5), which



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prohibits individual holders from instituting “any suit, action or proceeding in equity or law

under or with respect to the Indenture” without the consent of the Trustee or the support of at

least 25% in aggregate principal amount of the bonds. This is a standard feature in sovereign

bond indentures, and it prevents economically motivated holdouts, such as Plaintiffs, from

holding up unfairly time-sensitive sovereign debt restructurings.

       Even if Plaintiffs were to establish a basis to proceed in this Court, and not in the LCIA

and/or the English courts, Plaintiffs cannot establish the minimum requirements for obtaining a

preliminary injunction. Plaintiffs cannot establish a likelihood of success on the merits.

Plaintiffs disclosure claims rely exclusively on the Republic’s statements in the Press Release.

Plaintiffs point to several statements in the Press Release in the Motion (see Plaintiffs’

Memorandum of Law, at 10-11), but fail to explain how or why those statements are false or

materially misleading. When pressed on why or how the statements in the Press Release are

false, Plaintiffs can identify no fact that was misrepresented. They retreat, instead, to generic

complaints about what they say is the “coercive” nature of the consent solicitation (which is not a

basis for a federal securities claim), and their claim that the modifications violate the indenture (a

straightforward contract matter and, likewise, not a basis for a federal securities claim). The

argument falls apart when viewed against the real facts.

       The Invitation Memorandum provides comprehensive disclosures of the economic terms

and the associated risk to all bondholders. The fact that the Press Release conveys the

Republic’s disagreement with Plaintiffs about whether the Consent Solicitation is coercive or not,

does not change the fact that all material terms of the Consent Solicitation and associated risks

were disclosed to all bondholders, and Plaintiffs cannot point to anything in the Invitation

Memorandum that is misleading. And the notion that Plaintiffs were misled or did not



                                                  3
understand their economic choices based on the Press Release regarding the fully disclosed

economic terms of the Consent Solicitation is simply not believable. It is beyond dispute that

plaintiffs are being given a choice based on accurate facts full knowledge of the risks. In fact, all

bondholders in the Consent Solicitation are being treated exactly the same; there is no disparate

treatment among bondholders as a whole. All bondholders are free to make an independent

decision to tender or not to tender in the Consent Solicitation. The fact that the Consent

Solicitation provides an incentive for bondholders to tender is not as a matter of law coercion.

       Plaintiffs also fail to establish imminent, irreparable harm. Plaintiffs argue that, absent an

injunction, they will be forced to tender their bonds in the Consent Solicitation, and thus, by ipse

dixit, the Consent Solicitation is purportedly “coercive”.   However, nothing compels Plaintiffs

to tender, and if they are free to pursue their contractually remedies for breach of the “no less

favorably” provision of the indentures if they believe it is in their economic interests to do so.

And, in fact, Plaintiffs initiated the LCIA arbitration to enforce their breach of contract rights and

to seek damages for the difference between the value that tendering bondholders will receive in

the Consent Solicitation as compared to the value that will be received by non-tendering

shareholders. The law is clear that there can be no irreparable harm where the movant has an

adequate remedy as law, as is the case here.

       Finally, the balance of the hardships weighs decisively in favor of the Republic when

plaintiffs can show nothing more than the possible loss of money (for which it has a clear

remedy at law) if the Court denies the injunction. On the other side, the Republic is in the

process of a delicate restructuring process that involves negotiations with, among others, the

International Monetary Fund and other bi-lateral creditors (such as China).      A delay in the

process beyond August 10 will put the Republic into a massive default, which will not only



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cripple its finances but also severely affect its efforts to obtain other financing, causing

devastating humanitarian and social effects. For the following reasons, the Court should dismiss

the Complaint for lack of jurisdiction and otherwise deny the Motion.

                                           ARGUMENT

            This Court should deny Plaintiffs’ request for a temporary restraining order. The

standard for a temporary restraining order in the Second Circuit is the same for a preliminary

injunction. See e.g., Andino v. Fischer, 555 F.Supp. 2d 418, 419 (S.D.N.Y. 2008); Echo Design

Group, Inc. v. Zino Davidoff S.A., 283 F.Supp.2d 963, 966 (S.D.N.Y.2003); Spencer Trask

Software & Info. Servs., LLC v. RPost Int'l, Ltd., 190 F.Supp.2d 577, 580 (S.D.N.Y.2002) (“The

standard for granting a temporary restraining order and a preliminary injunction pursuant to Rule

65 of the Federal Rules of Procedure are identical.”). “A preliminary injunction is an

extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear

showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997). A

preliminary injunction is never granted “as of right,” Winter v. Nat’l Res. Def. Council Inc., 555

U.S. 7, 24 (2008); whether to grant one “rests in the sound discretion of the district court.” JSG

Trading Corp. v. Tray-Wrap, Inc., 917 F.2d 75, 79 (2d Cir. 1990).

      The Court should not use that discretion here; Plaintiffs have not shown irreparable harm

or likely success on the merits, and both the balance of hardships and the public interest counsel

against issuing a restraining order. For the Court to issue a preliminary injunction, Plaintiffs

must show that they are “likely to succeed on the merits.” While Plaintiffs need not show success

is “an absolute certainty,” at a minimum, the “probability” of success is required. See Abdul Wali

v. Coughlin, 754 F.2d 1015, 1025 (2d Cir. 1985), overruled on other grounds, O’Lone v. Estate

of Shabazz, 482 U.S. 342 (1987). Second, that they are “likely to suffer irreparable harm in the



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absence of preliminary relief.” Irreparable harm is the “single most important prerequisite for

the issuance of a preliminary injunction. Bell & Howell: Mamiya Co. v. Masel Supply Co., 719

F.2d 42, 45 (2d Cir. 1983). “The movant must demonstrate an injury that is neither remote nor

speculative, but actual and imminent and that cannot be remedied by an award of monetary

damages.” Shapiro v. Cadman Towers, Inc., 51 F.3d 328, 332 (2d Cir. 1995). Third, Plaintiffs

must prove that “the balance of equities tips in [its] favor,” and fourth, that a temporary

restraining order “is in the public interest.” Winter v. Nat. Res. Def. Council, Inc., 555 U.S. 7, 20

(2008). None of these factors support Plaintiffs’ request, indeed they directly undercut it.


  I.   PLAINTIFFS HAVE SELECTED THE WRONG FORUM AND HAVE NO
       AUTHORITY TO PROCEED PURSUANT TO THE INDENTURES

       A. Plaintiffs’ Application for Temporary Relief should be Dismissed Because their
          Claims are Subject to Arbitration before the LCIA and Any Related Judicial
          Claims Must be Brought before the English Courts



       Section 11.7 of each of the Indentures requires that the claims asserted in this action be

adjudicated exclusively in arbitration in England under the rules of the London Court of

International Arbitration. Section 11.7 provides in relevant part:

               Any dispute, controversy or claim of any nature arising out of, relating to

               or having any connection with this Indenture, including any dispute as to

               the existence, validity, interpretation, performance, breach, termination or

               consequences of the nullity of this Indenture (a “Dispute”), where the

               Republic is either a party, claimant, respondent or otherwise is necessary

               thereto, shall not be referred to a court of any jurisdiction and shall instead




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                be referred to and finally resolved by arbitration under the Rules of the

                LCIA (“LCIA Rules”). . .

        This broad language, which covers any dispute “having any connection with” the

indenture, would plainly include a securities fraud claim arising out of an alleged violation of the

terms of the indenture.    It is well accepted that U.S. federal securities fraud claims may be

subject to arbitration.

        Plaintiffs argue that their request for preliminary injunctive relief is properly before this

court as it involves the need for interim relief without which the Plaintiffs’ could not obtain full

relief in arbitration. Contrary to plaintiffs’ position, the Indenture specifically provides that such

actions will be brought in the English courts – not in New York. Section 11.11(d) of the

Indentures provides that the Republic waives its sovereign immunity for 3 categories of claims:

(1) arbitration claims pursuant to the arbitration provision; (2) actions to enforce any arbitration

award; and (3) proceedings in Ecuador. Section 11.11(d) further provides that “the Republic

submits to the jurisdiction of the English courts in connection with any proceedings invoking the

supervisory jurisdiction of those courts in relation to an arbitration conducted pursuant to Section

11.7.

        This action is, therefore, subject to the supervisory jurisdiction of the English courts:

        Accordingly, the parties have expressly agreed to the English Courts as the

        jurisdiction for bringing claims that are within the supervisory authority of the

        courts, including applications for interim relief.      The Republic submits that

        these provisions constitute a binding agreement not to bring any such claim in

        any other court (including New York), and/or that based on the clear intent of




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             these provisions to litigate such matters in England, the Court should decline to

             exercise its equitable powers and refer any such claims to the courts of England.


    II.      PLAINTIFFS CANNOT DEMONSTRATE A LIKELIHOOD OF SUCCESS ON
             THE MERITS

             B. Plaintiffs Cannot Point To Any Deception In A Fully Accurate Consent
                Solicitation

          Plaintiffs fail to plead a meritorious claim under Section 10(b) given the Republic’s detailed

and transparent disclosures in the Invitation Memorandum. Although Plaintiffs acknowledge

that Section 14 of the Exchange Act does not apply, 2 that provision of the U.S. securities laws

was enacted for the “sole purpose” of ensuring investors confronted with a tender offer have

“adequate information”. Piper v. Chris-Craft Indus. Inc., 430 U.S. 1, 35 (1977). Thus, “[t]he

probability of success on the merits in any application for injunctive relief . . . turns greatly upon

whether the plaintiff has shown that the tender offer under attack has misstated or omitted

material facts.” [Check the Perrigo case if it goes our way], No. 15 Civ. 7341 (NRB), 2015 WL

9916726, at *4 (S.D.N.Y. Oct. 29, 2015). Here, Plaintiffs have not established it is likely to

succeed on the merits because they have wholly failed to identify a misleading statement in, or

material fact that has been omitted from the Invitation Memorandum.

             C. Plaintiffs’ Claim That The Press Release Contains False Statements Is Specious

          Absent anything in the Invitation Memorandum that is remotely misleading, Plaintiffs resort

to the Press Release as the source of its U.S. securities fraud claim. Their attempt to bootstrap

the Press Release into an actionable securities fraud claim is wholly without merit.



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  The Republic reserves the right to argue the lack of extraterritorial application of Section 10(b) in this
case. It is not necessary for the Court to reach that issue given that the Court lacks jurisdiction under the
Dispute Resolution provision, and otherwise, Plaintiffs have failed to meet their burden on the traditional
injunction factors.

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       Plaintiffs have failed to allege any actionable misrepresentation under Section 10(b) of

the Securities Act. To establish liability under Section 10(b), Plaintiffs must show: (1) the

Republic made a material misstatement; (2) the misstatement was made with scienter; (3) there is

a connection between the misrepresentation Plaintiffs’ purchase of a security; (4) the Plaintiff

relied on the misstatement or omission; (5) the plaintiff suffered economic loss; (6) there is a

causal connection between the material misrepresentation and the loss suffered. Dura Pharms.,

Inc. v. Broudo, 544 U.S. 336, 341–42 (2005).

       The only source of the alleged material misstatements relied on by Plaintiffs, as

confirmed by Plaintiffs’ counsel before this Court during the July 30 telephone conference, is the

Republic’s July 27 Press Release (See Mem. At 9.). No statement identified by Plaintiffs—

indeed no statement contained in the Press Release at all—is actionable under Section 10(b).

       For a fact to be material there must be a “substantial likelihood that a reasonable

shareholder would consider it important in deciding how to [act]” or in other words “there must

have been a substantial likelihood that the disclosure of the omitted fact would have been viewed

by the reasonable investor as having significantly altered the ‘total mix’ of information made

available.” Basic Inc. v. Levinson, 485 U.S. 224, 240 (1988) (internal citations and quotation

marks omitted). General statements, such as those pertaining to reputation, integrity, and

compliance with ethical norms, are “too general to cause a reasonable investor to rely upon them.”

City of Pontiac Policemen's & Firemen's Ret. Sys. v. UBS AG, 752 F.3d 173, 183 (2d Cir. 2014)

(citing ECA, Local 134 IBEW Joint Pension Trust of Chicago v. JP Morgan Chase Co., 553 F.3d

187, 206 (2d Cir.2009)).

       Further, statements of opinion are protected and not actionable under Section 10(b). A

statement of opinion is not materially false just because it is incorrect, unless it is not “honestly



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held” or omits facts about the basis for holding the view, and those facts conflict with what a

reasonable investor would understand from the statement itself. The federal securities laws do

not “allow investors to second-guess inherently subjective and uncertain assessments. In other

words, the provision is not … an invitation to Monday morning quarterback an issuer's opinions.”

Omnicare, Inc. v. Laborers Dist. Council Const. Indus. Pension Fund, 575 U.S. 175, 186 (2015).

       Plaintiffs have failed to meet their burden that the statements in the Press Release

Thewere false, misleading, or material. They were, at most, generic statements and opinions,

issued in response to Plaintiffs’ own public accusations.

       The first of these allegedly false statements is that “[t]he [Steering Committee] asserted

that the Republic negotiated with them in bad faith and characterized the process as ‘coercive.’

Nothing could be further from the truth.” Compl. ¶ 55. Plaintiffs assert that this is a false claim

“about the complete lack of coercion of the tender.” Id. The argument makes no sense. The

statement that the Steering Committee asserted that the Republic negotiated with them in bad

faith is clearly a subjective opinion and not actionable. The fact that Plaintiffs and the Republic

have a difference of opinion regarding the negotiations is likewise opinion, and the statement in

the Press Release is merely iterating the Republic’s position. Moreover, That Plaintiffs are

unsatisfied with either option does not mean the tender is coercive. Plaintiffs – sophisticated

investors specializing in distressed debt – were well aware of the terms of the indenture, and

knew they could be modified through the Collective Action Clause. And yet, they signed it.

Notwithstanding the accuracy of the Republic’s statement that “[n]othing could be further from

the truth,” it is not an actionable under Section 10(b).   See Omnicare, 757 U.S. at 186.

       Plaintiffs also claim that the Republic “never meaningfully engaged in any way with the

Steering Committee,” and therefore the above statement is “false.” Memo. at 10. Further,



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Plaintiffs dispute the Republic’s claim that “[d]uring the month of June, the Republic formally

approached the Minority Committee and attempted to engage in confidential negotiations, but

the advisor to the Minority Committee spent two weeks negotiating the wording of the Non-

Disclosure agreements . . .” Although the Republic stands by its statements, they are an opinion

and are not material. See Omnicare, 757 U.S. at 186.

       The second allegation – concerning the statement that there is “nothing improper or

unusual” about a consent fee – is similarly inactionable. Compl. ¶ 59. Plaintiffs fail to show that

a consent fee was unusual or atypical in these type of transactions or that the Republic made the

statement knowing that a consent fee was unusual or atypical. Plaintiffs imply the Republic’s

statement is false because it allegedly violates the No Less Favorable Treatment Provision.

Memo. at 10. But that does not mean that the statement is false. It merely means that Plaintiffs

have a different contractual interpretation of the No Less Favorable Treatment provision and

whether a consent fee is a violation of the contract.   A consent fee is standard practice in

restructurings of this kind and serves as an incentive to bondholders to participate in the tender.

To the extent there is an implied opinion on the Republic’s part that there is nothing improper or

unusual about this specific consent fee, it is just that, an opinion. The Republic believes the

consent fee is completely consistent with the goals of this transaction. All bondholders have the

same choice as Plaintiffs. This is not a situation where this choice is only granted to a certain set

of bondholders, and is therefore not a violation of the provision. To the extent Plaintiffs claim

there was an omission regarding the nature of the payment, they are incorrect. The terms of the

Invitation Memorandum explicitly spell out the nature of the consent payment—including who

receives it and who does not—the only “omission” is the characterization Plaintiffs’ give it.

This is neither material, nor misleading.



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         Plaintiffs then allege that the statements that Ecuador is not seeking “to compel the

consent of the investor,” “[t]he payment of a consent fee in the form of the PDI 2030 Bonds

provides a financial incentive for holders to provide their consent to the amendments and accept

the terms of the restructuring,” and that the Steering Committee has “no basis to argue that they

are being treated in an unequal manner” are false. Memo. at 10. But they fail to explain how

these statements — that merely articulate the Republic’s position — are factually false.

Plaintiffs seem to suggest that, because they believe the Consent Solicitation is coercive, the

contrary statement by the Republic that the Consent Solicitation is not coercive, makes the

Republic’s statement in the Press Release false.        This circular and conclusory argument has no

basis.

         Plaintiffs also rely on the statements that “[t]he Republic’s focus is on … a process that is

open to all bondholders and which fundamentally applies to principles of inter-creditor equity”

and “[t]he Republic is committed to a … transparent process.” Memo. at 10. According to

Plaintiffs, these are false and misleading statements and omissions about the tender offer and

process. Plaintiffs’ reliance on this statement is wholly misplaced for the same reason that all of

the statements they rely on in the Press Release are not false. There is no dispute that the

Consent Solicitation was open to all bondholders, therefore, that statement cannot be false. The

statement that the Republic was focused on “principles of inter-creditor equity” and was

committed to a “transparent process” is clearly a statement of opinion. While Plaintiffs may

disagree with that opinion, the fact that they believe the Republic acted consistent with principles

of inter-creditor equity or was not committed to a transparent process does not render the

statement false. All bondholders have been invited to participate in the tender process. All the

terms of the consent process have been publicly disclosed in the Invitation Memorandum.



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Further, the Republic’s statements are merely opinions of the Republic regarding the process.

They are neither misleading nor false. See e.g., Boca Raton Firefighters & Police Pension Fund

v. Bahash, 506 F. App'x 32, 37 (2d Cir. 2012) (finding statements such as “[the relevant code of

practices and procedures] underscores our own dedication towards transparent and independent

decision-making process” and “[t]he integrity, reliability and credibility of S & P has enabled us

to compete successfully in an increasingly global and complex market, and that is true today and

we are condiment it will be so in the future” inactionable puffery).

       Lastly, Plaintiffs claim the Republic falsely asserted it was “acting within the four corners

of our indentures.” Memo. at 11. This claim is not actionable under Section 10(b), as statements

concerning the legality or propriety of a course of action are opinions. Omnicare, 575 U.S. at

186 (finding Defendants’ statements to the effect of “we believe we are obeying the law” were

not actionable). Again, the fact that Plaintiffs believe that the indentures require a different

course of action under the indentures, or that the Consent Solicitation is a breach does not make

the statement in the Press Release false.



III.   THERE IS NOT IRREPARABLE HARM BECAUSE PLAINTIFFS’ ALLEGED
       INJURY CAN BE REMEDIED THROUGH MONEY DAMAGES

       A. Standard

       As the “single most important prerequisite” in the preliminary injunction analysis,

irreparable harm must be established “before the other requirements for the issuance of an

injunction will be considered.” Rodriguez ex rel. Rodriguez v. DeBuono, 175 F.3d 227, 234 (2d

Cir. 1999). The litigant must demonstrate that the injury alleged is “actual and imminent,” not

merely possible, and cannot be remedied in money damages. Freedom Holdings, Inc. v. Spitzer,

408 F.3d 112, 114 (2d Cir. 2005). Plaintiffs cannot satisfy this stringent burden.


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       B. Plaintiffs’ Injuries Arise Exclusively By Virtue Of An Alleged Breach Of the
          “No Less Favorably” Provision In The Indenture, And Therefore They Have
          Adequate Remedies At Law

      Stripped of any actual misrepresentation, Plaintiffs’ only argument is that they are harmed

irreparably by virtue of the fact that—in their opinion—the tender offer is “coercive.” Plaintiffs’

characterization of the tender offer and their perceived harm is belied by the facts, as detailed

below. Most importantly, moreover, their filing today of a Request For Arbitration (RFA) in the

seeking money damages for breach of the Indenture is direct evidence that Plaintiffs have an

adequate and available remedy in damages, foreclosing a preliminary injunction in this case.

      Plaintiffs predicate their claim of irreparable injury on three factors. First, Plaintiffs argue

that by virtue of Defendant’s alleged material misstatements, Plaintiffs will be “forced . . .

against their will and under duress” to tender and exchange their bonds and waive protections

afforded by the No Less Favorable Treatment Provision in the Indenture. Pl. Mem. at. 12.

Putting aside that Plaintiffs cite no authority to support such a claim, their characterization of the

Consent Solicitation as coercive is simply inaccurate. To be sure, the Consent Solicitation

provides all bondholders with the same voluntary choice: to tender or not to tender. Each

bondholder, including Plaintiffs—distressed debt specialists and/or sophisticated emerging

market investors—is free to make the same economic choice and at its sole discretion; namely, to

tender and to receive the economic benefits concomitant with tendering, or, not to tender, thus

preserving their rights to seek damages based on any perceived breach of the Indenture. See

Katz v. Oak Indus., Inc., 508 A.2d 873, 881-82 (Del. Ch. 1986) (offer not coercive based on

encouraging consents).

      In fact, Plaintiffs have done just that. Today, they filed a Request for Arbitration in the

LCIA for breach of the Indenture concerning the No Less Favorable Treatment Provisions.



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Notably, the RFA is virtually identical to the allegations set forth in the Complaint in this action.

Of importance here, the RFA alleges that “Contrarian has suffered damages due to the

Republic’s breach of the Indenture through is coercive and inequitable Proposal and its breaches

of the No Less Favorable Treatment Provision” and seeks damages “estimated at multiple

millions of U.S. dollars,” in an amount to be proven in this arbitration,” along with pre and post

award interest on those amounts. RFA at paras. 48-49. Far from supporting Plaintiffs’ position

that their injury is imminent, irreparable and unable to be compensated by money damages, the

RFA makes clear that Plaintiffs believe that money damages will remedy the alleged harm

articulated in the Complaint in this action.

      Second, Plaintiffs cite NML Capital, Ltd. V. Republic of Argentina, 144 F. Supp. 3d 513,

520 (S.D.N.Y. 2015) for the proposition that their position will be subordinated to the tendering

bondholders if the tender offer proceeds, in violation of a contractual promise, which constitutes

irreparable harm. NML is wholly distinguishable. In that case, the Republic of Argentina

passed legislation prohibiting payments on bonds issued pursuant to a Fiscal Agency Agreement

(the “FAA Bonds”). As a result of the legislation, FAA bondholders refusing to exchange FAA

Bonds with newly issued bonds were foreclosed from receiving any payment of any kind, and

without any monetary remedy because of the legislation. Id. At 517. That is simply not the case

here, where all bondholders are on equal footing as to whether to tender or not, and while the

new bonds carry different consideration (i.e., an incentives), none of the bondholders, whether

they tender or not, will be foreclosed from receiving payments.

      Finally, Plaintiffs argue that they will suffer irreparable harm given Ecuador’s “perilous

financial state.” Pl Mem. at 13. Plaintiffs cite no evidence for such a statement other than a

statement by Defendant in the Invitation Memorandum that the COVID-19 pandemic “has had



                                                 15
severe impact on the Republic’s economy.” This statement, in and of itself, does not lead to the

unsupportable conclusion reached by Plaintiffs that any judgment would be “uncollectable.”

And in any event, if Plaintiffs are concerned about collectability of any judgment, their remedy is

to seek security from the arbitral tribunal, not an injunction in this Court.


IV.    THE BALANCE OF THE HARDSHIPS TIPS DECIDEDLY TOWARDS THE
       REPUBLIC AS IT STRIVES TO RESTRUCTURE FOR THE BENEFIT OF THE
       ECUADORIAN ECONOMY AND ITS CITIZENS

      Even if the Court determines that there are “sufficiently serious questions going to the

merits to make them a fair ground for litigation,” Plaintiffs cannot prove that the balance of

hardships tips decidedly in its favor. Citigroup Glob. Mkts., Inc. v. VCG Special Opportunities

Master Fund Ltd., 598 F.3d 30, 35 (2d Cir. 2010). The balance of hardships tips decidedly

towards Defendant given that fact that Plaintiffs have an adequate remedy at law – namely,

money damages, as evidenced by their commencement of an arbitration in the London Court of

Arbitration seeking damages for the very claims they are asserting here.

      On the other hand, a preliminary injunction would cause irreparable harm to Defendant as

it will likely force a default on the Republic’s existing bonds on August 10, 2020, just eleven

days from now. On April 17, 2020, Holders of the Eligible Bonds gave their consent to certain

proposed amendments to each of the Ecuador Eligible Bonds pursuant to two consent

solicitations under which the Republic requested holder consent to modify the applicable

indentures of the Eligible Bonds to defer until August 10, 2020, all scheduled interest payments

due under the Eligible Bonds between March 27, 2020 and July 15, 2020. See Invitation

Memorandum, Appendix A, at A-14. The solicitations provided that if a new successor IMF

supported program was publicly announced by August 10, the date would be extended to August

15, 2020. (The date is referred to in the Invitation Memorandum as the “August 2020 Specified

                                                  16
Date”.) As of today’s date, a new successor IMF supported program has not been publicly

announced, so the August 2020 Specified Date is August 10, 2020. To be clear, this deferral of

interest rate payments until August 10 means that if the Republic does not close the Invitation to

Exchange by that date or receive a further waiver and extension from the holders, the Republic

will be in default under the terms of all of its eligible bonds. 3

      In the Invitation to Exchange, the Republic has sought waivers of a number of provisions,

including a deferral of interest past the August 10 date. Enjoining the Republic from continuing,

accepting or consummating the Invitation to Exchange will preclude the Republic from receiving

and giving effect, if received, to the consents of eligible holders to extend the deferral of interest

past the August 2020 Specified Date. If the extension does not occur by August 10, 2020, the

Republic will be in default under not only the $17.4 billion of bonds at issue here, but also would

be in cross-default of more than $5 billion additional debt to banks and other organizations. A

broad default could well prevent the Republic from being able to obtain financing at all,

crippling its economy. The Republic is currently negotiating with certain of its bilateral creditors

for new financing. It is unlikely that these creditors will agree to inject new financing if the

Republic is in default under existing indebtedness. The Republic’s economic recovery plans are

contingent upon new financing being obtained and if such financing is not obtained, the social

and economic costs and havoc that could occur on Ecuador would be disastrous.




3
  The August 20 date referenced by Plaintiffs’ counsel is not the date on which the Republic goes into
default without a further extension; that date is August 10. If by August 10, the consent solicitation has
been completed and the requisite percentages obtained, then the Republic (which now will not be in
default because of the successful consent solicitation) has the option of extending the closing of the
transactions until August 20 (and indeed September 1) to enable it to complete IMF financing which is a
condition of closing. See Invitation Memorandum, at iv-v.

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Dated: New York, New York        Respectfully submitted,
       July 30, 2020
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